Case 2:24-cv-00371-PA-AGR Document 58-3 Filed 05/20/24 Page 1 of 8 Page ID #:958




                          EXHIBIT C
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-3
                                     2966 Filed
                                           Filed05/20/24
                                                 09/09/20 Page
                                                           Page2 of
                                                                 1 of
                                                                    8 7Page ID #:959




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

       ---------------------------------------------------------- x
                                                                  :
      In re:                                                      :          Chapter 11
                                                                  :
      THE WEINSTEIN COMPANY HOLDINGS, :                                      Case No. 18-10601 (MFW)
      LLC, et al.,
                                                                  :          (Jointly Administered)
                                     Debtors.1                    :
                                                                  :          Re: Docket No. 2895
                                                                  :
       ---------------------------------------------------------- x

              ORDER (I) ESTABLISHING DEADLINES FOR FILING PROOFS OF
             CLAIM SOLELY WITH RESPECT TO TORT CLAIMS, (II) APPROVING
                  FORM AND MANNER OF NOTICE THEREOF, AND (III)
                             GRANTING RELATED RELIEF

             Upon the Debtors’ Amended Motion for Entry of an Order (I) Establishing Deadlines for

  Filing Proofs of Claim Solely with Respect to Tort Claims, (II) Approving Form and Manner of

  Notice Thereof, and (III) Granting Related Relief [Dkt. 2895] (the “Motion”) for entry of an order

  (this “Order” 2) (i) establishing deadlines and requirements for filing proofs of claim against the

  Debtors solely with respect to Tort Claims (as defined below3) held by any entity or individual,

  including former Employees of the Debtors and Litigation Parties (each as defined below) and




  1
     The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are (3837).
  The mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York
  10013. Due to the large number of debtors in these cases, which are being jointly administered for procedural purposes
  only, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
  herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent
  at http://dm.epiq11.com/twc.
  2
   All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
  Motion.
  3
     Tort Claims as defined herein are defined as Harassment Claims in the Order (I) Establishing Deadlines for Filing
  Proofs of Claim, (II) Establishing Deadlines for Filing Requests for Payment of Postpetition Administrative Expenses,
  (III) Approving Form and Manner of Notice Thereof, and (IV) Granting Related Relief [Docket No. 1890], and the
  definitions of Tort Claims and Harassment Claims are substantively the same. The “Tort Claims” nomenclature has
  been adopted and used in this Order to be consistent with the nomenclature used in the Debtors’ First Amended Plan
  of Liquidation filed on September 1, 2020 [Docket No. 2952].




                                                        Exhibit C
                                                         Page 33
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-3
                                     2966 Filed
                                           Filed05/20/24
                                                 09/09/20 Page
                                                           Page3 of
                                                                 2 of
                                                                    8 7Page ID #:960




  (ii) approving the form and manner of notice thereof, pursuant to sections 501, 502, 503, and

  1111(a) of chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) and Rules

  2002 and 3003(c)(3) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), as

  more fully set forth in the Motion; and the Court having jurisdiction to consider the Motion and

  the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing

  Order of Reference from the United States District Court for the District of Delaware dated

  February 29, 2012; and consideration of the Motion and the requested relief being a core

  proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to

  28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been given as

  provided in the Motion, and such notice having been adequate and appropriate under the

  circumstances; and it appearing that no other or further notice need be provided; and a hearing (if

  any) having been held to consider the relief requested in the Motion; and the Court having found

  and determined that the legal and factual bases set forth in the Motion establish just cause for the

  relief granted herein; and it appearing that the relief requested in the Motion is in the best interests

  of the Debtors and their respective estates and creditors; and upon all of the proceedings had before

  the Court and after due deliberation and sufficient cause appearing therefor, it is HEREBY

  ORDERED THAT:

          1.      The Motion is granted as set forth herein.

          2.      Unless otherwise provided herein, October 31, 2020 at 5:00 p.m. (Eastern Time)

  is hereby established as the deadline for entities or individuals, including, but not limited to, former

  employees or independent contractors of the Debtors (collectively, the “Employees”), and

  (i) known parties to litigation relating to a Tort Claim (as defined below), and (ii) known parties

  who have threatened the Debtors with litigation premised upon a Tort Claim (parties in clauses




                                                    2
                                                Exhibit C
                                                 Page 34
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-3
                                     2966 Filed
                                           Filed05/20/24
                                                 09/09/20 Page
                                                           Page4 of
                                                                 3 of
                                                                    8 7Page ID #:961




  (i) and (ii), together, the “Litigation Parties”), to file a proof of claim solely in respect of any

  claims that arise out of or connect or relate in any way to, any actual or alleged conduct of Harvey

  Weinstein, which shall include, without limitation: (i) actual or alleged sexual misconduct,

  nonconsensual interactions, harassment (including sexual harassment), uninvited or unwelcome

  conduct, predatory conduct, inappropriate conduct, degrading conduct, coercive or intimidating

  behavior, humiliation, tort, hostile work environment, sexual assault, rape, intentional infliction of

  emotional distress, negligence, negligent infliction of emotional distress, battery, assault, gender

  violence, false imprisonment, false arrest or detention, sexual abuse, sex trafficking or

  discrimination based on sex or gender or any similar or related actions, or (ii) defamation, witness

  tampering, mail fraud, wire fraud, negligent hiring, negligent supervision, negligent retention,

  negligence, failure to prevent harassment or ratification, whether based on direct or vicarious

  liability, whether domestic or foreign, whether based on breach of fiduciary (or other) duty or

  intentional or negligent conduct, including but not limited to allegations of failure to prevent or

  remedy, failure to disclose, aiding and abetting or efforts or conspiracy to prevent the disclosure,

  or cover up, of any of the preceding (collectively, “Tort Claims” and the deadline by which such

  claims must be filed, the “Tort Claims Bar Date”).

         3.      The Court hereby approves: (i) the Tort Claims Proof of Claim Form, substantially

  in the form attached hereto as Exhibit 1; (ii) the Tort Claims Bar Date Notice, substantially in the

  form attached hereto as Exhibit 2; (iii) the Permitted Party Confidentiality Agreement, attached

  hereto as Exhibit 3; (iv) the manner of providing notice of the Tort Claims Bar Date as described

  in the Motion (including, without limitation, by means of the Contact List).




                                                   3
                                               Exhibit C
                                                Page 35
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-3
                                     2966 Filed
                                           Filed05/20/24
                                                 09/09/20 Page
                                                           Page5 of
                                                                 4 of
                                                                    8 7Page ID #:962




         4.     Except as otherwise set forth herein, each holder of a Tort Claim against the

  Debtors, including, but not limited to, former Employees and Litigation Parties, is required

  to file a Tort Claims Proof of Claim Form on or before the Tort Claims Bar Date.

         5.     With respect to preparing and filing of proofs of claim on account of potential

  Tort Claims held by Tort Claimants (including former Employees and Litigation Parties)

  the following procedures are hereby established:

                a.     Proofs of claim must substantially conform to the Tort Claims Proof of
                       Claim Form attached hereto as Exhibit 1;

                b.     Proofs of claim must (i) be written in the English language; and (ii) be
                       signed by the Tort Claimant under penalty of perjury;

                c.     Proofs of claim must be filed on or before the Tort Claims Bar Date either
                       (i) electronically through Epiq’s website at www.weinsteinclaims.com
                       (the “Electronic Filing System”), or (ii) physically (a) by first-class mail
                       at The Weinstein Company Holdings, LLC, Claims Processing Center, c/o
                       Epiq Bankruptcy Solutions, LLC, P.O. Box 4419, Beaverton, Oregon,
                       97076-4419, or (b) by overnight mail, courier service, hand delivery, or in
                       person at The Weinstein Company Holdings, LLC, Claims Processing
                       Center, c/o Epiq Bankruptcy Solutions, LLC, 10300 SW Allen Boulevard,
                       Beaverton, Oregon, 97005.

                d.     A proof of claim shall be deemed timely filed only if it actually is received
                       by Epiq as set forth in subparagraph (c) above, in each case, on or before
                       the Tort Claims Bar Date; and

                e.     Proofs of claim sent by facsimile, telecopy, or electronic mail transmission
                       (other than proofs of claim filed electronically through the Electronic Filing
                       System) will not be accepted.

         6.     Notwithstanding the above, the following persons need not file any proofs of claim:

                a.     any Tort Claimant whose Tort Claim is listed on the Schedules;
                       provided that (i) the claim is not listed on the Schedules as “disputed,”
                       “contingent,” or “unliquidated,” (ii) the person or entity does not dispute the
                       amount, nature, and priority of the claim as set forth in the Schedules, and
                       (iii) the person or entity does not dispute that the claim is an obligation of
                       the specific Debtor against which the claim is listed in the Schedules;

                b.     any Tort Claimant who already has filed a signed proof of claim on account
                       of a Tort Claim with Epiq against the respective Debtor with respect to the


                                                 4
                                             Exhibit C
                                              Page 36
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-3
                                     2966 Filed
                                           Filed05/20/24
                                                 09/09/20 Page
                                                           Page6 of
                                                                 5 of
                                                                    8 7Page ID #:963




                     claim being asserted, utilizing a claim form that substantially conforms to
                     the Tort Claims Proof of Claim Form;

              c.     any Tort Claimant who holds a Tort Claim that has been allowed by order
                     of the Court entered on or before the Tort Claims Bar Date;

              d.     any Tort Claimant whose Tort Claim has been paid in full; and

              e.     any Tort Claimant with a claim other than a Tort Claim for which specific
                     deadlines have been fixed by an order of this Court entered on or before the
                     Tort Claims Bar Date.

        7.    The following confidentiality protocol shall apply to the Tort Claims:

              a.     Tort Claimants are directed not to file Tort Claims with the Court.
                     Instead, Tort Claimants must submit their Tort Claims Proof of Claim
                     Form consistent with paragraph 5(c) of this Order.

              b.     Filed Tort Claims will not be available to the general public unless the Tort
                     Claimant designates otherwise on its Tort Claims Proof of Claim Form.
                     The Confidentiality Protocol is for the benefit of the Tort Claimants.
                     Accordingly, Tort Claimants may elect to make any of the information
                     contained in their submitted Tort Claims Proof of Claim Form public.

              c.     Tort Claims Proof of Claim Forms submitted by Tort Claimants shall be
                     held and treated as confidential by Epiq, the Debtors, and the Debtors’
                     counsel and upon request by the parties listed below (the “Permitted
                     Parties”), subject to each Permitted Party, the Debtors, and their
                     professionals executing and returning to the Debtors’ counsel a
                     confidentiality agreement substantially in the form attached hereto as
                     Exhibit 3 by which they agree to keep the information provided in Tort
                     Claims Proof of Claim Forms confidential.

        8.    The Permitted Parties include:

              a.     counsel to the Debtors;

              b.     Epiq;

              c.     counsel to the Committee;

              d.     the United States Trustee;

              e.     insurance companies that provide insurance that may cover the claims
                     described in a Tort Claims Proof of Claim Form submitted by a Tort
                     Claimant; and




                                              5
                                          Exhibit C
                                           Page 37
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-3
                                     2966 Filed
                                           Filed05/20/24
                                                 09/09/20 Page
                                                           Page7 of
                                                                 6 of
                                                                    8 7Page ID #:964




                 f.      upon notice and hearing before the Court, such other persons as the Court
                         may direct.

         9.      Within five (5) business days of the entry of this Order, or as soon as practicable

  thereafter, the Debtors shall send emails to the Contact List directing potential Tort Claimants to

  file a Tort Claims Proof of Claim Form, providing information about these Chapter 11 Cases, and

  providing information on how to access the: (i) Tort Claims Bar Date Notice; (ii) Tort Claims

  Proof of Claim Form; and (iii) Tort Claims Bar Date Order (the “Tort Claims Bar Date Notice

  Package”). For individuals on the Contact List whose email addresses the Debtors do not possess,

  the Debtors shall serve or cause to be served a letter directing potential Tort Claimants to file a

  Tort Claims Proof of Claim Form and providing information on how to access the Tort Claims Bar

  Date Notice Package. Such letters shall be served by first class United States mail, postage prepaid

  (or equivalent service).

         10.     In addition, pursuant to Bankruptcy Rule 2002(l), within five (5) business days of

  the entry of this Order, or as soon as practicable thereafter, the Debtors will publish a copy of the

  Publication Notice in The Hollywood Reporter, Variety and The New York Post, and the Debtors

  will publish a copy of the Publication Notice online at least forty-five (45) days prior to the Tort

  Claims Bar Date on the internet websites for The New York Post (nypost.com), Page 6

  (page6.com), The Sun (thesun.co.uk), The Toronto Star (thestar.com), and/or such other media

  sources as the Debtors, in consultation with the Committee, deem appropriate.

         11.     In accordance with Bankruptcy Rule 2002(a)(7), service of the Tort Claims Bar

  Date Package in the manner set forth in this Order is and shall be deemed to be good and sufficient

  notice of the Tort Claims Bar Date to all known claimants, including, for the avoidance of doubt,

  former Employees and Litigation Parties.




                                                   6
                                               Exhibit C
                                                Page 38
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-3
                                     2966 Filed
                                           Filed05/20/24
                                                 09/09/20 Page
                                                           Page8 of
                                                                 7 of
                                                                    8 7Page ID #:965




         12.     Pursuant to Bankruptcy Rule 3003(c)(2), any Tort Claimant, including, but not

  limited to, former Employees and Litigation Parties, that is required to file a timely proof of claim

  on account of a Tort Claim in these Chapter 11 Cases pursuant to the Bankruptcy Code, the

  Bankruptcy Rules or this Order, but that fails to do so properly by the Tort Claims Bar Date, shall

  not, with respect to such claim, be treated as a creditor of the Debtors for the purposes of voting

  upon, or receiving distributions under, any plan in these Chapter 11 Cases.

         13.     The Debtors are authorized to take all steps necessary or appropriate to carry out

  this Order.

         14.     Nothing contained herein shall constitute (a) a waiver by the Debtors of any

  defenses in connection with any claims that are asserted against the Debtors or the right to assert

  that any claims are barred by applicable statutes of limitations or (b) an admission of any

  wrongdoing, liability, fault or violation of law by the Debtors or the Debtors’ current or former

  officers, directors, or board representatives.

         15.     This Court shall retain jurisdiction to hear and determine all matters arising from

  or related to the implementation, interpretation, or enforcement of this Order.




 Dated: September 9th, 2020
                                                        MARY F. WALRATH
 Wilmington, Delaware
                                                        UNITED STATES BANKRUPTCY JUDGE

                                                       7
                                                   Exhibit C
                                                    Page 39
